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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN


 UNITED STATES OF AMERICA,
        Plaintiff,
                                                              Hon. Paul L. Maloney
 v.
                                                              Case No. 1:17-cr-00176
 DWAYNE EDWARD PERRY,

        Defendant.
 ________________________________/


                         REPORT AND RECOMMENDATION

       Pursuant to W.D. Mich. L.Cr.R. 11.1, I conducted a plea hearing in the captioned

case on November 28, 2017, after receiving the written consent of defendant and all

counsel. At the hearing, defendant Dwayne Edward Perry entered a plea of guilty to

Count 25 of the Indictment in exchange for the undertakings made by the government in

the written plea agreement. In Count 25 of the Indictment, defendant is charged with

bank fraud in violation of 18 U.S.C. §§ 1344(2) and 2. On the basis of the record made

at the hearing, I find that defendant is fully capable and competent to enter an informed

plea; that the plea is made knowingly and with full understanding of each of the rights

waived by defendant; that it is made voluntarily and free from any force, threats, or

promises, apart from the promises in the plea agreement; that the defendant understands

the nature of the charge and penalties provided by law; and that the plea has a sufficient

basis in fact.

       I therefore recommend that defendant's plea of guilty to Count 25 of the Indictment

be accepted, that the court adjudicate defendant guilty, and that the written plea
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agreement be considered for acceptance at the time of sentencing. Acceptance of the

plea, adjudication of guilt, acceptance of the plea agreement, and imposition of sentence

are specifically reserved for the district judge.


Date: November 28, 2017                                  /s/ Ellen S. Carmody
                                                         ELLEN S. CARMODY
                                                         U.S. Magistrate Judge


       OBJECTIONS to this Report and Recommendation must be filed with the Clerk of

Court within 14 days of the date of service of this notice. 28 U.S.C. § 636(b)(1)(C). Failure

to file objections within the specified time waives the right to appeal the District Court’s

order. Thomas v. Arn, 474 U.S. 140, 155 (1985); United States v. Walters, 638 F.2d 947,

949-50 (6th Cir. 1981).




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